           Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 1 of 9



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CAPITAL AREA IMMIGRANTS’ RIGHTS
COALITION, et al.,

                          Plaintiffs,

      v.
                                                        Civil Action No. 1:19-cv-02117-RDM
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                          Defendants.


                        RESPONSE TO ORDER TO SHOW CAUSE

       Plaintiffs, by and through their undersigned counsel, hereby file this Response to the

Court’s order to show cause why this case should be treated as related to O.A. et al. v. Trump et

al., No. 1:17-02718, and S.M.S.R. et al. v. Trump et al., No. 1:18-02838. The reason why these

cases are related is straightforward: Both suits are brought by the same Plaintiffs, alleging the

same harms, challenging rules premised on the same factual predicates and statutory authority,

and raising the same or substantially overlapping legal claims. “[J]udicial economy would be

served by having the[ ] matters resolved by the same judge.” Singh v. McConville, 187 F. Supp.

3d 152, 156 (D.D.C. 2016) (quoting Autumn Journey Hospice, Inc. v. Sebelius, 753 F. Supp. 2d

135, 140 (D.D.C. 2010)). The cases should be deemed related, and Plaintiffs’ motion for a

temporary restraining order should be expeditiously heard and resolved.

                                         ARGUMENT

       Generally, “new cases filed in this courthouse are randomly assigned.” Singh, 187 F.

Supp. at 154. This random assignment rule is designed to “guarantee[ ] fair and equal

distribution of cases to all judges, avoid[ ] public perception or appearance of favoritism in


                                               1
          Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 2 of 9



assignments, and reduce[ ] opportunities for judge-shopping.” Tripp v. Exec. Office of President,

196 F.R.D. 201, 202 (D.D.C. 2000) (Calendar Committee three-judge panel). “In some cases,

however, the interests of judicial economy served by the related case rule, Local Civil Rule 40.5,

outweigh the fundamental interests served by the random assignment rule.” Doe v. Von

Eschenbach, No. 06-cv-2131, 2007 WL 1655881, at *1 (D.D.C. June 7, 2007); see Tripp, 196

F.R.D. at 202 (assigning related cases to different judges “will often prove wasteful of time and

resources”). “Civil . . . cases are deemed related when the earliest is still pending on the merits

in the District Court and they (i) relate to common property, or (ii) involve common issues of

fact, or (iii) grow out of the same event or transaction or (iv) involve the validity or infringement

of the same patent.” Local Civ. R. 40.5(a)(3). The bottom-line question is whether “each case

present[s] identical issues for resolution,” and whether there is “substantial overlap in both the

factual underpinning and the legal matters in dispute . . . such that judicial economy would be

served by having the[ ] matters resolved by the same judge.” Singh, 187 F. Supp. 3d at 156

(quoting Autumn Journey Hospice, 753 F. Supp. 2d at 140) (alterations in original omitted).

       That standard is readily met here. It is undisputed that both O.A. v. Trump and S.M.S.R.

v. Trump are still pending on the merits in the District Court: The parties have filed motions for

summary judgment and class certification that remain pending for decision. Moreover, these

cases involve numerous “common questions of fact” and raise “identical issues for resolution”

on nearly every question presented, such that “judicial economy would be served by having the

matters resolved by the same judge.” Id.

       First, both cases involve numerous “common questions of fact.” Both this case and

S.M.S.R. were brought by the same organizational Plaintiffs on the basis of the same allegations

of harm. In particular, CAIR Coalition and RAICES have alleged that each rule will inflict the



                                                 2
          Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 3 of 9



same harms, such as increasing the costs of identifying and assisting immigrant clients,

dramatically reducing the number of clients that Plaintiffs are able to serve, and impairing the

organizations’ missions of serving immigrant clients.      Compare Compl. ¶¶ 110-152 (CAIR

Coal.), with Am. Compl. ¶¶ 213-255 (S.M.S.R.). And they allege the rules inflict those harms for

the same reasons: By denying asylum eligibility to large numbers of aliens and instead requiring

them to seek relief under more onerous legal standards (withholding of removal and the

Convention Against Torture), the rules will make it more costly for the organizations to identify

and assist their clients, reduce their ability to rely on non-lawyer staff, and require them to

counsel children individually, rather than as derivative beneficiaries of asylum applicants. See

id.   Indeed, the organizations have submitted virtually identical declarations in support of

standing in both cases. Cubas Decl. ¶ 14; Garza Pareja Decl. ¶ 9. Moreover, if the East Bay

injunction were not in place, the harm inflicted by the two rules would be indistinguishable in

many cases, since many of Plaintiffs’ clients would be rendered ineligible for asylum based

under either rule. Common factual questions would thus govern the Courts’ analysis of standing

in both cases.

        Furthermore, both this rule and the prior rule rest on the same factual predicates. Each

rule asserts at length—using many passages lifted verbatim from one rule to the next—that there

is an immigration crisis on the southern border, that that crisis is fueled by large numbers of

migrants from the Northern Triangle seeking asylum, and that the asylum system finds credible

fears of persecution at too-high rates. 84 Fed. Reg. at 33,831; 83 Fed. Reg. at 55,935. Both rules

further claim that they will have the same allegedly beneficial effects on that system, such as

reducing the strain on border patrol agents and immigration judges and decreasing the rate of

unlawful entry and erroneous grants of asylum. 84 Fed. Reg. at 33,831; 83 Fed. Reg. at 55,947.



                                                3
          Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 4 of 9



Unsurprisingly, then, they also impose markedly similar restrictions on asylum, broadly barring

eligibility for asylum for most persons who cross the southern border. Evaluating the legality

and rationality of each rule would thus require the Court to address common factual issues and

assess justifications that are based on common factual claims.

       Moreover, both rules offer the same factual bases for forgoing notice and comment. Each

rule states, using nearly identical language, that there is “good cause” to forego notice and

comment because “immediate implementation of the rule is essential to avoid a surge of aliens

who would have strong incentives to seek to cross the border during pre-promulgation notice and

comment or during the 30-day delay in the effective date under 5 U.S.C. 553(d).” 84 Fed. Reg.

at 33,841; see 83 Fed. Reg. at 55,950 (“[I]mmediate implementation of this rule is essential to

avoid creating an incentive for aliens to seek to cross the border during pre-promulgation notice

and comment under 5 U.S.C. 553(b) or during the 30-day delay in the effective date under 5

U.S.C. 553(d).”). In each case, Defendants rely on the same “newspaper article” as the sole

factual basis for that claimed surge. 84 Fed. Reg. at 33,841; see Defs. Reply in Support of

Cross-Mot. for S.J. at 22-23, O.A. v. Trump, No. 18-2718 (Mar. 29, 2019). Indeed, the later rule

expressly acknowledges that the prior rule invoked “th[e] same concerns” as the basis for its

good cause finding. 84 Fed. Reg. at 33,841.

       Likewise, each rule offers the same factual basis for claiming that the “foreign affairs”

exception applies. Both rules state that forgoing notice and comment is appropriate because the

rule “will facilitate ongoing diplomatic negotiations with foreign countries regarding migration

issues, including measures to control the flow of aliens into the United States,” “the urgent need

to address the current humanitarian and security crisis along the southern land border between

the United States and Mexico,” and “ensur[ing] that refugees can more effectively find refuge



                                                4
          Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 5 of 9



and safety in a third country.” 84 Fed. Reg. at 33,842; see 83 Fed. Reg. at 55,951 (stating that

the rule would “facilitate the likelihood of success in future negotiations” over matters including

“how to address the influx of tens of thousands of migrants from Central America through

Mexico and into the United States,” how to “address the crisis at the southern border,” and

giving aliens “the opportunity to seek protection at the safest and earliest point of transit

possible”).

       Because the D.C. Circuit requires courts to scrutinize an agency’s “factual findings” to

determine whether an exception to notice and comment applies, Sorensen Commc’ns Inc. v.

FCC, 755 F.3d 702, 707 (D.C. Cir. 2014), this case and S.M.S.R. would thus require the Court to

address common factual issues, and evaluate the sufficiency of Defendants’ factual statements

against the same legal standard.     Indeed, these factual issues were critical to both courts’

resolution of the notice-and-comment question in the East Bay litigation.           See East Bay

Sanctuary Covenant v. Trump, 909 F.3d 1219 (9th Cir. 2018) (finding the foreign affairs

exception inapplicable because “the connection between negotiations with Mexico and the

immediate implementation of the Rule is not apparent on this record”); East Bay Sanctuary

Covenant v. Trump, 354 F. Supp. 3d 1094, 1115 (N.D. Cal. 2018) (finding the good cause

exception applicable because Defendants’ newspaper article ostensibly “supports the inference”

that a surge of migration may occur). This area of factual overlap on this central legal question

also militates in favor of a related case determination. See Singh, 187 F. Supp. 3d at 156

(approving related case designation for six actions in which the Court would be required to make

“similar factual determinations” regarding, inter alia, Government defendants’ “justifications for

their regulations and policies”); cf. Tripp, 196 F.R.D. at 202-03 (finding cases not related where




                                                5
          Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 6 of 9



the secondary case involved “only a tangential discovery connection, but no direct factual nexus,

to the central allegations of the primary case”).

       Second, these cases present “identical issues for resolution,” such that there is

“substantial overlap in . . . the legal matters in dispute.” Singh, 187 F. Supp. 3d at 156. As just

noted, both cases present identical claims of standing and involve identical theories for forgoing

notice and comment under the same statutory exceptions. In addition, Plaintiffs in both cases

have raised the same arguments concerning the rules’ violations of the Trafficking Victims

Protection Reauthorization Act (TVPRA): In each case, they have claimed that the rule violates

the TVPRA because it deprives a large number of unaccompanied alien children of the right to a

non-adversarial asylum hearing, as the TVPRA requires, and instead directs that their asylum

claims automatically be denied. Compare TRO Mem. 16-17, with TRO Mem. 24-25 (S.M.S.R.).

       Furthermore, each case presents very similar questions regarding the scope of

Defendants’ legal authority under 8 U.S.C. § 1158(b)(2)(C).          Both rules invoke Section

1158(b)(2)(C) to impose a sweeping restriction on asylum for persons who enter the United

States through the southern border. And in both cases, Plaintiffs have argued that the rule

exceeds the authority granted to the Attorney General for the same reason: because it

circumvents a requirement imposed by another provision of Section 1158, and violates bedrock

principles of international law. Both cases will thus require the Court to resolve some of the

same legal questions concerning the scope of Section 1158(b)(2)(C): for one, whether the

Attorney General may impose a limit on “eligibility” that effectively negates a statutory

provision governing an alien’s right to “apply” for asylum; for another, whether the language and

structure of Section 1158(b)(2)(C)—including the terms “additional limitations” and “consistent

with this section,” and the structure of this provision as a residual authority—bar the Attorney



                                                    6
            Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 7 of 9



General from imposing limitations or conditions on asylum that undermine a prior provision of

the same statutory section and contravene international law.

       The jurisdictional issues in the cases are the same, too. Because the plaintiffs in each

case are the same, Defendants will undoubtedly raise the same jurisdictional defenses: that

organizational plaintiffs fall outside the zone of interests of the asylum statute, and that these

organizations are barred from seeking relief by 8 U.S.C. § 1252(b) and (e). These issues have

proven central to the O.A. and S.M.S.R. litigation, and consumed the bulk of Defendants’ briefing

in those cases. It would waste judicial resources to replicate all that effort in another case.

       The fact that these cases involve different (albeit substantially overlapping) rules does not

mean they are unrelated. Courts have found cases related where they challenged different

policies or practices, or involved the application of those policies to differently situated

plaintiffs, provided that the cases presented common issues and overlapping claims. See, e.g.,

Assiniboine & Sioux Tribe of Fort Peck Indian Reservation v. Norton, 211 F. Supp. 2d 157, 158-

159 (D.D.C. 2002) (finding case challenging a policy governing disposition of individual

Indians’ lands sufficiently related to a case challenging a policy governing the disposition of

tribal land); Singh, 187 F. Supp. 3d at 155-156 (finding cases related where they involved

different   plaintiffs   challenging   applications   of   military’s   religious   accommodations

policy). “The fact that the Court will conduct an individual analysis with respect to each plaintiff

to determine whether each plaintiff is entitled to the relief he seeks does not obviate the need for

factual determinations related to the defendants’ regulations and policies, and their

administration of those regulations and policies, which are common to both cases.” Singh, 187

F. Supp. 3d at 157.




                                                  7
          Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 8 of 9



       Finally, “judicial economy would be served by having these matters resolved by the same

judge.” Singh, 187 F. Supp. 3d at 156 (internal quotation marks omitted). The merits and

jurisdictional issues in these cases are complex, and have consumed months of briefing and

argument. It would be a substantial waste of judicial resources if a judge who has not yet

grappled with these issues were required to consider them anew. And that interest in judicial

economy is especially forceful in this case. Due to the large number of highly vulnerable

migrants and asylum seekers who are, as of yesterday, already subject to the Rule, both they and

Plaintiffs will suffer irreparable harm imminently. Resolving the motion for a temporary

restraining order and any subsequent motion for a preliminary injunction in an expeditious

fashion is therefore of the utmost importance. And this Court is already steeped in many of the

legal and factual issues that will be necessary for resolving the case. See Alberti v. Gen. Motors

Corp., 600 F. Supp. 1024, 1025 (D.D.C. 1984) (noting, in the recusal context, that “experience

with complex issues in an earlier case may actually enhance the likelihood of a speedy and

inexpensive determination of a later case”).         On the other side of the ledger, the “public

appearance” of “favoritism” or “judge-shopping” is minimal, Tripp, 196 F.R.D. at 202, since this

Court has yet to issue a substantive ruling of any kind in the other case, on either the merits or

jurisdiction. The important thing is that the pending request for a temporary restraining order be

resolved efficiently, and related-case status would serve that end.

                                         CONCLUSION

       For the foregoing reasons, the Court should deem this a related case with O.A. v. Trump

and S.M.S.R. v. Trump under Local Civ. Rule 40.5. Regardless, given the enormous harms

Plaintiffs and the public will suffer if the rule remains in effect, Plaintiffs respectfully request




                                                 8
          Case 1:19-cv-02117-RDM Document 7 Filed 07/17/19 Page 9 of 9



that the case be expeditiously assigned and that Plaintiffs’ motion for a temporary restraining

order be quickly heard and resolved.

July 17, 2019                                       Respectfully submitted,

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